4:10-cr-03085-RGK-CRZ              Doc # 77   Filed: 01/04/11   Page 1 of 1 - Page ID # 399




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                 4:10CR3085
                                               )
              v.                               )
                                               )
FABIAN ANTILLON-ESTRADA,                       )       MEMORANDUM AND ORDER
                                               )
                      Defendants.              )

       The defendant has asked Pretrial Services for leave to travel to South Dakota as
required for his employment.         Pretrial Services and the government’s counsel have no
objection to this request.

       Accordingly,

       IT IS ORDERED:

        1.    Pretrial Services Officer shall permit the defendant to travel outside his
restricted area, on a schedule pre-approved by his supervising officer, for employment
purposes, provided the defendant’s travel does not interfere with his scheduled trial. During
the pre-approved travel, Mr. Antillon-Estrada’s electronic monitoring condition shall be
temporarily suspended as deemed necessary by Pretrial Services.

       2.     All remaining terms of the defendant’s pretrial release remain in effect.

       DATED this 4th day of January, 2011.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
